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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Demetrius Johnson
                                   Plaintiff,
v.                                                      Case No.: 1:20−cv−04156
                                                        Honorable Sara L. Ellis
Reynaldo Guevara, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 27, 2023:


       MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's
motion to withdraw the appearance of counsel [274] and withdraws the appearance of
Danielle Hamilton as counsel for Plaintiff. The Court strikes the status date set for
9/27/2023 and resets it to 5/1/2024 at 9:30 AM for ruling on Defendants' motion for
summary judgment. Mailed notice(rj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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